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                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF MISSISSIPPI
                                                     GULFPORT DIVISION

In re: AUDREY SMITH RAWLS                                                                               Case No.: 24-50272-KMS

                Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
WARREN A. CUNTZ, JR., chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant
to 11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 02/29/2024.
2) The plan was confirmed on 06/24/2024.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 10/17/2024.
5) The case was dismissed on 04/03/2025.
6) Number of months from filing or conversion to last payment: 11.
7) Number of months case was pending: 14.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:            $8,110.00
       Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                  $8,110.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                $1,566.50
       Court Costs:                                                                $.00
       Trustee Expenses and Compensation:                                      $455.13
       Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $2,021.63

 Attorney fees paid and disclosed by debtor:                   $.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim             Claim         Principal           Interest
Name                                        Class            Scheduled         Asserted          Allowed       Paid                Paid

FAMILY HEALTH CARE                          Unsecured             596.26              NA               NA             .00                 .00
GC SVCS                                     Unsecured              75.00              NA               NA             .00                 .00
HARRISON FINANCE                            Unsecured             150.00              NA               NA             .00                 .00
HATTIESBURG CLINIC                          Unsecured             300.00              NA               NA             .00                 .00
KEYSTONE MEDICAL                            Unsecured           2,851.00              NA               NA             .00                 .00
MERRICK BANK                                Unsecured             659.27              NA               NA             .00                 .00
Mississippi Department of Revenue           Secured               540.41          439.70           510.00          71.73                  .00
PEARL RIVER CO HOSPITAL                     Unsecured           1,183.91              NA               NA             .00                 .00
REPUBLIC FINANCE                            Secured             1,115.00              NA               NA             .00                 .00
Southeast Auto Financial Services           Secured             7,310.17        7,092.77         9,042.00      1,203.33                   .00
TOWER LOAN                                  Unsecured             150.00              NA               NA             .00                 .00
US SBA - Denver Finance Office              Secured           31,487.98       28,386.18         36,187.20      4,813.31                   .00


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                                UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF MISSISSIPPI
                                                   GULFPORT DIVISION

In re: AUDREY SMITH RAWLS                                                                                Case No.: 24-50272-KMS

                Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                     Claim               Claim            Claim         Principal           Interest
Name                                       Class             Scheduled           Asserted         Allowed       Paid                Paid
ZELLCO Federal Credit Union                Unsecured            1,000.00         1,000.00         1,000.00             .00                 .00

 Summary of Disbursements to Creditors:                                                           Claim         Principal           Interest
                                                                                                  Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00            .00                  .00
     Mortgage Arrearage:                                                                               .00            .00                  .00
     Debt Secured by Vehicle:                                                                     9,042.00       1,203.33                  .00
     All Other Secured:                                                                          36,697.20       4,885.04                  .00
 TOTAL SECURED:                                                                                  45,739.20       6,088.37                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00            .00                 .00
     Domestic Support Ongoing:                                                                          .00            .00                 .00
     All Other Priority:                                                                                .00            .00                 .00
 TOTAL PRIORITY:                                                                                        .00            .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                      1,000.00             .00                 .00

 Disbursements:
       Expenses of Administration:                                                               $2,021.63
       Disbursements to Creditors:                                                               $6,088.37
 TOTAL DISBURSEMENTS:                                                                                                              $8,110.00

   12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
   foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
   The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:     04/30/2025                                     By:   /s/WARREN A. CUNTZ, JR.
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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